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                                                                             CLERK'SOFFICE U.S.DISTRIGT COURT
                                                                                     ATABINGDON,VA
                                                                                            FILED
                        IN THE UNITED STATESDISTRICT COURT                             2E2 3C 2219
                       FOR THE W ESTERN DISTRICT OF W RGINIA
                                  BIG STO NE G AP D IW SIO N
                                                                                    JULIt       EY, L K
                                                                                      :                 .
  Victoria B.Fom orthy,M other, .                                                               .



  N extofkin and C o-adm inistrator                                                                 E
  oftheEstateofJarrod'l'
            q
                       y Fom orthy,
  Deceased;R pbertB .H ines,.
                            11, .
  Co-adm inistratorofiheEstateof
  JarrodT# Foxworthy,Deceased,
                                                    N o.2:18-cv-40-JPJ-PM S
         Plaintiffs,
                                                    JudgeJamesP.Jones
  V.

 'UnitedStayesofAmerica
         Defqndants.
                                                                     .   .            '         $
                                                                                                î



       ORDER ON PLM MTIFFS'PETITION FORAPPROVAL OF W RONGFUL DEATH
                                        SETTLEM EN T


             . day cam e Pl
         TH IS            aintiffsVictoriaFoxw orthy and Rèbel'tHines,Esq.,Co-A dm iliistratots

  oftheEstateofJarrodTyFoxworthy,Deceased (Plaintiffs'decèdentisreferredtohereinas
                                                       r


  ''M r.Foxworthy'd),inpersonandbycôtpsel,andDefendantUnitedStatesofAmerica,by
  counsel,and,pursuanttoViréiniaCodej8.01-55andFed.R.Civ.P.41,uponPlaintiffs'lotion
  forappiovalofw rongful-death settlem ent,and upon noticeto the statutory benefciaries,

  Plaintiffs moved forapprovalofthe wrongful-death sçttlem ent.


         ItappçaringtotheCourtthatthemattersagrded uportbythepartiesassetforth herein be,
  and the sam e hereby are,ratified,approved,and confirm ed.Specifically,itappearing to the

  Courtthat:




                                                1
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            A llparties required by law to be convened are convened orare deem ed convened by

  theirsignaturesto thisOrderorby w ritten notice ofthe hearing.

        '
         Thaton October28,2016 3o-yearoldJarrod Ty Foxworthy waspronounced deadafter

  being strangled to death atU SP Leeprison by hiscellm ate.


         ThatPlaintiffs VictoriaFoxw orthy and RobertHinesduly qualified a'
                                                                          s Co-

  Adm inistratorsoftheEstate ofJarröd Ty Foxw orthy,Deceased,-in the CircuitCourtofLee
                                 J

  County,Virginia,undertheprovisionsofVirginiaCodej64.2-454onM arch28,2016.

  4.     ThatPlaintiffsfiled the above-captioned wrongful-death action asserting claim s against

  TheU nited StatesofAm erica pursuantto the FederalTortClaim s Act.


         ThattheD efendantexpressed the intention to defend allclaim sasserted by Plaintiffs.


         Thatneverthelejs,the D efendant,w ithoutadm itting any liability,butdistinctly denying

  such,hasoffered to com prom ise the claim sofPlaintiffs arising outofthe death ofM r.

  Foxw orthy.D efendanthasagreed to collectively pay V ictoria Foxworthy and RobertH ines,Co-

  A dm inistratorsoftheEstate ofJarrod Ty Foxw orthy,Deceased,contingenyupon Courtapproval,
                           '

  cashintheamountofTwoHundredThousandDollars($2/00,000.00). fê1
                                                          .




            ThatPlaintiffshaverepresentedtotheCourtthattheyaçcejttheofferoftheDefendant
  afterhaving considered a11factors involved.


  K      Thatthe settlem entisfairand reasonable underal1thecircum stances.


         Thatthe Plaintiffshave represented to the Courtthat M r.Foxw orthy is sulwived by
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  thefollowingstatutorybeneficiariesasdefinedbyVirginiaCodej8.01-53:

  a.VictoriaFoxworthy(Jarrod'smother)
         DOB:(redacted)
         576 G oose Creek Resort

         NewporqN orth Carolina28570


  b.TyFoxworthy(Jarrod'sfather)
                             J

         DOB:gredactedq
         576 G oose Creek Resort

         Newport,North Carolina28570


  c.FalonFoxworthy(Jarrod'ssister)
         DOB:(redactedl
         5200 Sum m itLane M anor,A pt. 324

         Raleigh,N orth Carolina 27613


  10.    ThatPlaintiffsrepresentsthatfuneraland burialexpenseshave been paid by V ictori: and

  Ty Foxworthy in theAmountof$9,596.00.They arecollectively entitledto reimbursementinthe

  amountof$9,596.00to bepaid outofthesettlementproceeds.

         Thepartiesrepresentthere are no liens in thism atter.


         ltisORDERED thatareimbursementof$9,596.00bepaidoutofthesettlement
  proceeds to V ictoria and Ty Foxw orthy forfuneraland crem ation expenses.




                                                3
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         Itappearingtothe CourtthatattorneysDavidRandolph Sm ith,TheLaw Officesof
  D avid Randolph Sm ith And A ssociates and John Jessee have provided valuable legalassistance

  to the Plaintiffs in the prosecution ofthism atter,itishereby OR DERED thatD avid Randolph
                                                                         $      '
  Smith& Associatesbe awarded :$50,000($47,000toDavidRandolph Smith& Associatesand
  $3,000toJohnJessee).Thesesumswillbepaidoutofthesettlementproceedsinthismatter;
  and,


         ltfurtherappearing to the Courtthatcertain costsand reim bursable expenseshave been

  incurred and advanced intheam ountof$1,922.36.ltishereby ORDERED thatDavidRandolph
  Sm ith & Assoçiatesbereimbursedforcostsadvancedin theamountof$731,99 andJohn Jessee,
  Esq.bereimbursed forcostsadvanced intheamountof $ 1,190.37which sumsare tobepaid
  outofthe settlem entproceeds in thism atter;and,


         Itfurtherappearing to the Courtthatthe proposed distribution ofthe balance ofthe

  settlementfunds($138.381.64afterpaymentofattorneys'fees,expensesandfuneralandburial
  expenses)itisORDERED that80% ($110.785.31)bepaidtoVictoriaandTyFoxworthy,parentsof
  thedeceased.and20% ($27,676.33)toFalonFoxworthy,sisterofthedeceased.

         FindingthattenderofthesettlementfundsdetailedintheDisbursementsSheet(Exhibit1
 toPlaintiffs'PetitionforApprovalofWrongful-DeathSettlement)hasbeenproperlymadeand
  acknow ledged,itisORDERED thattheD efendantand itsem ployees,independentcontractors,

  is released and fully discharged from alIIiability forany and allclaim's,incltiding any claim for

  attorneys'fees,costs,and interest,w hich m ay orcan be asserted againstD efendantsorany

  employeesorindependentcontractors eithernow orin the pastemployed orretained by the

 D efendant,arising outofthe death ofM r.Foxworthy.


                                                  4
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         A11sum ssetförth in the D isbursem entSheetconstitute dam ageson accountofpersonal

  physicalinjuriesandphysicalsickness,withinthemeaningofSectionl04(a)(2)ofthelnternal
  Revenue Code of1986,asam ended.The entire paym entis com pensatory in nature to

  com pensate the beneficiaries forthe lossofM r.Foxw orthy.


                ORDERED,thatthiscasebedismissedwithprejudiceastoDefendant;
                                                                      I
                ORD ERED,thatthe Clerk ofthe Courtissue certified copiesofthis Orderto all

         counsel.


         Ex-rsltso this 3 > M dayof                        ,   019.



                                             J es P.Jones
                                      U .S.D ISTRICT COURT JUD GE




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